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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF GEORGIA
                                         NEWNAN DIVISION

             SHEILA HOWINGTON,
                             Plaintiff,                   CIVIL ACTION FILE NO.
                 v.                                       3:17-CV-0167-TCB-RGV
             TROUP COUNTY, ET AL,
                             Defendants.

                               MAGISTRATE JUDGE’S SCHEDULING ORDER

                      Upon review of the information contained in the Joint Preliminary Report and

             Discovery Plan completed and filed by the parties, the Magistrate Judge ORDERS that

             the time limits for adding parties, amending the pleadings, filing motions, completing

             discovery (the discovery deadline in this case is MAY 17, 2018) and discussing

             settlement are as stated in the Joint Preliminary Report and Discovery Plan, and this case

             having been initiated by complaint filed on NOVEMBER 14, 2017 will be set for trial

             after all dispositive motions have been ruled on.

             Requirements for Summary Judgment Motion/Proposed Consolidated Pretrial Order:

                      1.    Any motions for summary judgment must be filed by JUNE 18, 2018, and

             if no motions for summary judgment are filed, the Proposed Consolidated Pretrial Order

             will be due on JUNE 28, 2018.




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                   2.     Whenever a motion for summary judgment is filed, the non-moving party

             shall file a response to the moving party's "Statement of Undisputed Material Facts." In

             the response, the non-moving party shall respond to each numbered fact by number,

             admitting or denying the fact, and providing citations to the record to support any

             denial. The Court will deem as admitted those facts in the moving party's statement that

             the non-moving party does not controvert with citations to the record in its response to

             that statement. SL.R. 56.1(B)(2) N.D. Ga.

                   3.     All depositions that are referred to by either party in support of, or in

             opposition to, a motion for summary judgment shall be filed with the court. The parties

             shall attach to their memoranda of law in support of, or in opposition to, a motion for

             summary judgment, copies of all deposition pages referred to in the memoranda.

                   4.     Absent prior written permission by the court, no party may file a brief in

             support of a motion or a response to a motion exceeding (25) double-spaced pages in

             length, and no party may file a reply brief exceeding (15) double-spaced pages. A

             motion requesting an increase in the page length for a brief must be filed, and a copy

             delivered to chambers, prior to the due date for the brief. The text of a brief, including

             footnotes, may not be printed in a format producing more than 10 characters per inch.

             L.R. 7.1(D) N.D. Ga.




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                   5.     If a motion for summary judgment is filed, the Consolidated Pretrial Order

             will be due thirty days after the District Court's final ruling on the motion for summary

             judgment, if there are matters left to be tried.

                   IT IS ORDERED that the parties are directed to adhere to the above deadlines.

             Any motions requesting extensions of time must be made prior to the existing deadline

             and will be granted only in exceptional cases where the circumstances on which the

             request is based did not exist or the attorney(s) could not have anticipated that such

             circumstances would arise at the time the Preliminary Planning Report was filed.

             Failure to comply with this order, may result in the imposition of sanctions, including

             the dismissal of this action.

                   The Clerk is directed to submit this action by JULY 9, 2018, if the parties have not

             filed a Motion for Summary Judgment or Proposed Consolidated Pretrial Order.

                   IT IS SO ORDERED, this 22nd day of JANUARY, 2018.



                                                     RUSSELL G. VINEYARD
                                                     UNITED STATES MAGISTRATE JUDGE




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